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                       Exhibit K
                       to Declaration of Matthew Hooker
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November 24, 2021

BY ELECTRONIC MAIL AND SECURE FILE TRANSFER

Wendy J. Weinberg
Assistant Attorney General
Office of Consumer Protection
Public Advocacy Division
Office of the Attorney General
400 Sixth Street, NW, 10th Floor
Washington, DC 20001

Linda Singer
Paige Boggs
Motley Rice LLC
401 9th St. NW, Suite 1001
Washington, DC 20004


Re:              Subpoena to OptumRx, Inc. Dated December 28, 2020

Dear Wendy, Linda and Paige:

With this letter and accompanying documents, OptumRx, Inc. (hereinafter “Optum,” or “the
Company”) makes its third production in response to the Subpoena dated December 28, 2020, as
clarified by our various telephone calls (the “Subpoena”). For ease of reference, this production has
been labeled OPTUM1220_003, and has been Bates-numbered OPTUM1220_0000003 –
OPTUM1220_0000004.

This production includes information responsive to Requests 2 and 9, as modified by your email of
August 4, 2021, and our subsequent telephone and email communications. Specifically, this
production includes a spreadsheet of the rebates, administrative fees, and price protection fees
submitted by Optum to manufacturers of insulin products, and the amounts collected from those
manufacturers, with respect to insulin prescriptions filled at pharmacies in the District of Columbia for
2016-2020. This production also includes a spreadsheet of transaction level data with respect to
insulin prescriptions filled at pharmacies in the District of Columbia for 2016-2020. Per our




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                                                                                   November 24, 2021


discussions, these spreadsheets do not include PHI; as such the transactions have been assigned
scrambled claim numbers for ease of linking the two spreadsheets. 1

                                           *       *       *

The enclosed document contains or constitutes confidential business information, records, and/or
trade secrets of Optum and we have branded it “CONFIDENTIAL” and are producing it pursuant to
our July 1, 2021 Confidentiality Agreement with the Office of the Attorney General for the District of
Columbia.

The submission of the enclosed materials does not waive, nor is it intended to waive, any rights,
privileges, or immunities of Optum with respect to this matter, including any applicable attorney-client
privilege, protection provided under the work-product doctrine, or other privilege or immunity that
may exist. In the event of any inadvertent production of privileged materials, Optum requests that
the government refrain from reviewing such materials and return the same promptly to Optum.
Moreover, to the extent that non-responsive documents, pages, or information have been produced
inadvertently, Optum does not agree to any expansion of the scope of your request. Optum
expressly reserves any applicable privileges and immunities to which it is entitled under the law.

Please call me if you have any questions about any aspect of this letter or the enclosed document.


Sincerely,

/s/

Michelle A. Kisloff
Partner
Michelle.kisloff@hoganlovells.com
D 202-637-6631

cc:     Allison J. Caplis




1
       As discussed, we are producing two separate spreadsheets as the requested data is
maintained in two different systems.

                                                   2
